                      Case 1:21-mj-00291-GMH Document 1 Filed 03/08/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                  Howard Berton Adams
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                        in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress,
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
        Lawful Authority,
         18 U.S.C. § 1752(a)(2) - Disorderly conduct in restricted building or grounds,
        40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(G) - parading or demonstrating in Capitol building.
          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                     Scott Schumacher, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                          Digitally signed by G. Michael
                                                                                                          Harvey
                                                                                                          Date: 2021.03.08 14:30:06 -05'00'
Date:             03/08/2021
                                                                                                     Judge’s signature

City and state:                         :DVKLQJWRQ'&                           G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
